UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

-———= ———= eee eee ee ee eee ee eee x
U.S. PHILIPS CORP.,
Plaintiff, 03 Civ. 0172 (PKC)
-against- MEMORANDUM
AND ORDER ON
IWASAKI ELECTRIC CO,, et al., CLAIM CONSTRUCTION
Defendants.
oe ee ae ——_ =—e--- ———— -----"-XK

P. KEVIN CASTEL, District Judge:

This is a patent infringement suit brought by plaintiff U.S. Philips Corp.
(“Philips”) against Iwasaki Electric Co. (“Iwasaki”) and others alleging infringement of
certain patents related to super high-pressure mercury vapor discharge lamps and associated
devices. The principal invention is said to be utilized in most projection televisions and
digital projectors.

In an infringement action, the court first must determine the scope and
meaning of the patent claims asserted and, then, the properly construed claims are compared

to the allegedly infringing devices. See Cybor Corp. v. FAS Techs., Inc., 138 F.3d 1448,

1454 (Fed, Cir. 1998). Claim construction presents a question of law to be decided by the

Court. Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir. 1995), aff'd,

517 U.S. 370 (1996).
The Court of Appeals for the Federal Circuit recently had occasion to restate

and clarify the standards for claim construction. Phillips v. AWH Corp., 415 F.3d 1303 (Fed.

Cir. 2005) (en banc). Phillips emphasizes that “[i]t is a “bedrock principle’ of patent law that
‘the claims of a patent define the invention to which the patentee is entitled the right to

exclude.’” Id. at 1312 (citations omitted), The “words of a claim ‘are generally given their
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 2 of 12

ordinary and customary meaning,” which “is the meaning that the term would have to a
person of ordinary skill in the art in question at the time of the invention, i-e., as of the
effective filing date of the patent application.” Id. at 1312-13 (citations omitted). “[T]he
person of ordinary skill in the art is deemed to read the claim term not only in the context of
the particular claim in which the disputed term appears, but in the context of the entire patent,
including the specification.” Id. at 1313. The specification may be the “single best guide to
the meaning of a disputed term.” Id. at 1315 (citation omitted). If it is in evidence, the
prosecution history may also have important bearing on the meaning of a claim term, but it
may lack the clarity of the specification and, hence, may be less helpful. Id. at 1317
(citations omitted).

A court may resort to extrinsic evidence, though it is of less significance and
less value to the claim construction process. Id. at 1317 (citations omitted). Extrinsic
evidence consists of “consists of all evidence external to the patent and prosecution history,
including expert and inventor testimony, dictionaries, and learned treatises.” Id. (citations
omitted). The Phillips court provided substantial guidance on the proper use of extrinsic
evidence:

In sum, extrinsic evidence may be useful to the court, but it

is unlikely to result in a reliable interpretation of patent

claim scope unless considered in the context of the intrinsic

evidence. Nonetheless, because extrinsic evidence can help

educate the court regarding the field of the invention and

can help the court determine what a person of ordinary skill

in the art would understand claim terms to mean, it is

permissible for the district court in its sound discretion to

admit and use such evidence. In exercising that discretion,

and in weighing all the evidence bearing on claim

construction, the court should keep in mind the flaws

inherent in each type of evidence and assess that evidence
accordingly.

Id. at 1319.
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 3 of 12

The parties have extensively briefed the meaning of the claim language.
They have been afforded the opportunity to call live witnesses but have elected to rely
upon the paper record supplemented by oral argument. On November 22, 2005, a
hearing was held at which the parties’ made presentations. With the teachings of the

Federal Circuit in mind, I turn to the claim language at issue.

THE ‘181 PATENT

Claim 1 of U.S. Patent No. 5,109,181 (the “181 Patent”) reads as follows:

A high-pressure mercury vapor discharge lamp
comprising a discharge envelope, a pair of discharge
electrodes comprising tungsten between which a discharge
is maintained during lamp operation, and a filling
essentially consisting of mercury, a rare gas, and a halogen
for maintaining a tungsten transport cycle during lamp
operation, characterized in that: the quantity of mercury is
larger than 0.2 mg/mm’, during lamp operation the mercury
vapor pressure is higher than 200 bar and the wall load is
higher than 1 W/mm’, and in that at least one of the
halogens Cl, Br or I is present in a quantity between 10°
and 107 umol/mm* .

Counsel in this case have agreed upon interpretations of most of the claim
language or have agreed that the ordinary meaning is so clear that no interpretation is
necessary. Court Exhibit 2 sets forth the agreed upon interpretations, is adopted as an
order of this Court and will bind the parties in this proceeding. The parties further agree
that the construction of terms in Claim 1 applies to Claim 2. The disputed language is
discussed below.

during lamp operation the mercury
vapor pressure is higher than 200 bar and

Within the phrase “during lamp operation the mercury vapor pressure

is higher than 200 bar and”, the parties agree as to the interpretation of “pressure”,
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 4 of 12

“during lamp operation”, “higher” and “bar” (meaning a unit of pressure equal to one
million dynes per square centimeter or about 0.98687 standard atmosphere). Taken
together, Iwasaki argues that the phrase is too indefinite because (1) the force per unit
area of mercury vapor cannot be directly determined in an operating !amp at pressures
“higher than 200 bar”, (2) there are a number of different methods for indirectly
estimating pressure in the high pressure mercury vapor lamps that provide different
values and (3) the ‘181 patent does not specify which pressure estimation method is
to be used. In short, Iwasaki urges that claim construction is futile and the claim is
indefinite because the patent does not teach how to measure pressure; it argues that
one skilled in the art could not know if he were infringing the claim.

The second paragraph of the Patent Act, 35 U.S.C. § 112, provides
that “[t]he specification shall conclude with one or more claims particularly pointing
out and distinctly claiming the subject matter which the applicant regards as his
invention.” This statutory language requiring particularity and distinctiveness has led
courts to develop the concept of definiteness. “The requirement that the claims
‘particularly point[ ] out and distinctly claim[ ]’ the invention is met when a person
experienced in the field of the invention would understand the scope of the subject
matter that is patented when reading the claim in conjunction with the rest of the

specification.” Default Proof Credit Card Sys., Inc. v. Home Depot U.S.A.., Inc., 412

F.3d 1291, 1298 (Fed. Cir. 2005). “Indefiniteness ... like claim construction, is a
question of law... .” Id.
That claim construction is an issue of law does not mean that extrinsic

facts are insignificant. In some instances, the lack of definiteness will be apparent from
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 5 of 12

the face of the claim language, and extrinsic evidence, at most, will have secondary
utility. Here, Iwasaki relies upon extrinsic facts to demonstrate that, in the specific
context of that which is claimed, seemingly definite terms are, in fact, indefinite. The

importance of a fully developed factual record where extrinsic evidence is used to prove a

lack of definiteness is apparent from the case law. In SmithKline Beecham Corp. v.

Apotex Corp., the Federal Circuit had occasion to discuss its earlier decision in Morton

Int’l, Inc. v. Cardinal Chem. Co., 5 F.3d 1464 (Fed. Cir. 1993), and noted that “[t]he

record in Morton contained “considerable evidence showing that those skilled in the art
could not make the claimed compounds using the procedures of the specification, and no
evidence that such compounds even exist.” 403 F.3d at 1340 (Fed Cir. 2005). Morton
was a case where the indefiniteness finding, though legally distinct, was factually
intertwined with the finding of lack of enablement. 5 F.3d at 1469-70 (citing 4 1, 35

U.S.C. § 112). Iwasaki also relies upon Honeywell Int’l., Inc. v. Int’] Trade Comm’n,

341 F.3d 1332, 1340 (Fed. Cir. 2003), a case, which I note, was decided based upon a full
trial record developed before the International Trade Commission.

In the case before me, the factual record as to the available means of
measuring mercury vapor pressure at high levels during lamp operation is not fully
developed. Moreover, such a record is intertwined with the factual issue of whether
the disclosure enabled one skilled in the art to practice the invention. It suffices for
the purpose of this claim construction proceeding to conclude that the claim limitation
of a pressure of 200 bar is precise and understandable to one of ordinary skill in the
art. At this stage, ] cannot say that, as a matter of law, the claim fails for lack of

particularity and distinctiveness, i.e. lack of definiteness.
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 6 of 12

that at least one of the halogens
Cl, Br or I is present in a quantity

The *181 Patent’s “Summary of the Invention” describes the potential for
tungsten evaporated from the electrodes to be deposited on the wall of the envelope
(bulb), thereby causing blackening of the walls which would lead to higher wall
temperatures and a shorter life of the lamp. It further describes how the presence of a
small quantity of a halogen (chlorine, bromine or iodine) creates a cycle by which the
evaporated tungsten is transported back to the electrodes, thereby lessening the
blackening. (col. 2, ll. 30-34)

The parties dispute the interpretation of the phrase “that at least one of the
halogens Cl, Br or I is present in a quantity between 10° and 107 umol/mm?.” Neither
party disputes that “Cl,” “Br” and “I” are the abbreviations for the halogens chlorine,
bromine and iodine. I construe “quantity” to mean a concentration—the amount per unit
volume.

Philips reads the phrase “is present in a quantity” to mean only such of the
halogen that is “participating, supporting and keeping in existence the tungsten transport
cycle during lamp operation.” (Philips Br. at 14-18; Philips Reply Br. at 4-5.) Philips
relies upon the preamble language--“‘a halogen for maintaining a tungsten transport cycle

during lamp operation”-- preceding the transitional phrase “characterized in that:”’ I

' As Philips urges me to do, I read the claim language as a whole and consider the preamble language to be
relevant to claim interpretation. I note that a Jepson-type claim is one in which the existing art is
described in a preamble followed by a transitional phrase such as the “improvement comprising” or
“wherein the improvement comprises” after which the clairned elements are stated. See U.S. Pat, Off,
Rule 75({e), 37 C.F.R. § 1.75{e}. Ex Parte Jepson, 243 0.G. 525 (1917). Iwasaki asserts that the
“characterized in that” language (common in certain European applications} should be given a similar
construction, thereby rendering everything prior to the transitional phrase admitted prior art. I need not
and do not decide the issue at this time. See generally Landis on Mechanics of Patent Claim Drafting at
§ 6:8 (R. C. Faber ed., PLI 2004).

Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 7 of 12

conclude that the phrase “a halogen for maintaining a tungsten transport cycle during
lamp operation” identifies a filling material and describes the function of that material
and nothing more. The phrase, fairly read, does not qualify or limit the halogen that “is
present in a quantity”.

Reading the claim as a whole, one of ordinary skill in the art would
conclude that the quantity that is stated following the transitional phrase “characterized in
that:” means the quantity of halogen in the bulb or envelope. It would be a strained
construction to interpret the language to mean an amount of halogen less than the total
quantity of halogen present in the envelope, i.e. only such of the quantity of halogen that
is necessary “for participating, supporting and keeping in existence the tungsten transport
cycle during lamp operation,” I also have considered the extrinsic evidence and do not
find it persuasive in Philips’ favor.

a quantity between 10° and 10“ umol/mm’*

The parties also dispute the meaning of the phrase “a quantity between 10°
and 10“ umol/mm’.” There is no dispute that the phrase ““mol/mm? means micromoles
per cubic millimeter. Iwasaki contends that “10° and 107” is intended to express a specific
numerical range between | x 10° and 1x 107 while Philips argues that the phrase refers to a
range between two orders of magnitude. Philips points out that there is no multiplier
preceding the values “between 10° and 107 pmol/mm’.” Iwasaki points out that there are

no words used such as “on the order of” or “approximately” or “of a magnitude of” that

* “1 would say that the quantity being added, when we look to measure this quantity, it is this quantity has
to be there that is for the tungsten transport cycle. Any quantities that are there that are not used for the
tungsten transport cycle are irrelevant. We're only claiming the quantities in the bulb for maintaining a
tungsten transport cycle.’ (Counsel for Philips, Nov. 22 Hr’g at 38)
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 8 of 12

would give a person of ordinary skill in the art an awareness that the number that followed
was not a specific numerical value.

I have examined other uses of scientific notation in the specification.
There are references to quantities of methyl bromine in quantities of “5-10”. (col. 3, 1.
§3) Elsewhere there is a reference to “5.10 to 5.107 g atoms of at least one of the
halogens per cubic millimeter are fed into the envelope.” (col. 1, 1. 22.) While the use of
a numerical multiplier is of some significance, it is also true that a numerical multiplier is
not universally used when the multiplier is 1° For example, to one skilled in the art, 10°
means 100,000 and it may also be expressed as 1 x 10°. But, depending upon how it is
used, it could also mean an order of magnitude of 10°, ie. any numerical value in the
hundreds of thousands. The specific context becomes critical to understanding. Here, I
conclude that the use of two numbers in the phrase “a quantity between sand”
implies a specific range, as argued by Iwasaki. It does not imply a range between two
values which are themselves ranges.

Philips disclaims inexactitude in its interpretation. (Nov. 22 Hr’g at 78)
To bring precision, Philips urges that, utilizing rounding principles, “10° and 107
yumol/mm*” represent a specific numerical range and that the concentration of the
halogen “could be as low as 5 x 10°’ pmol/mm’ and as high as 5 x 107 umol/mm?,”

(Expert Report of Dr. David R. Lide at 9)’ I am reluctant to read more into the claim

* T have considered the reference to “10° pmol of Br/mm* (col. 3, |. 54) and conclude it to be ambiguous
for the reasons discussed at the hearing. (Nov. 22 Hr’g, compare 25-27 with 56-59.)

* Another of Philips experts states as follows: “in my opinion, one skilled in the art would interpret the
lower limit of halogen concentration in the ‘181 Patent Claims as extending downwards to 10.°° and the
upper limit extends upwards to 10.7? pmol/mm?.” (Expert Report of Dr. Robin Devonshire at 15)
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 9 of 12

language than is written.” A more natural interpretation is that the phrase “between i0°
and 10 pmol/mm*” means a quantity between 1 x 10° and 1 x 10% pmol/mm’. If the
claim language were intended to refer to orders of magnitude, it likely would have used a

modifier or qualifier and not have expressed the quantity in the seemingly absolute terms

6

implied by the form “present in a quantity between and

I conclude that the phrase “‘a quantity between 10° and 10% umol/mm* °
means that the halogen is present in the envelope or bulb in a quantity between | divided
by 1,000,000 and 1 divided by 10,000 micromoles per cubic millimeter.

THE °717 PATENT

U.S. Patent No. 6,300,717 (the “’717 Patent”) describes an invention for
positioning the lamp and reflector in an optical system in a manner so as to maintain
proper alignment. Proper alignment ensures uniformity of the lighting. Claim | reads as
follows:

A unit of an electric lamp and reflector, comprising a
reflector body including a reflector part with a concave
reflecting surface having an optical axis, a hollow neck-
shaped portion integral with said reflector body, and a light
emission window surrounding said optical axis; an electric
lamp comprising a light-transmitting vessel sealed in a
vacuum tight manner, enclosing a cavity and having, a first
and a second mutually opposing sealed end portion, an
electric element arranged in the cavity and respective
current conductors connected to the electric element,
extending through said sealed end portions and issuing
from the lamp vessel to the exterior, the electric lamp being
fixed in the reflector body with the first end portion inside
the neck-shaped portion, while the cavity lies within the

> Philips relies upon Holmes, et al. (U.S. Patent No. 3,382,396). In that patent in this field of art, quantities
of iodine are displayed in a one single table in the form “1x 10°” and also in the form “10°”. For the
reasons discussed at the November 22 hearing, these references are ambiguous.

° [ note that Claim 5 employees the language “that the mercury vapor pressure is about 400 bar.”
(emphasis added).
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 10 of 12

reflecting portion and the electric element is on the optical

axis wherein the reflector body has lugs on a side nearest

the light emission window,

The parties have agreed on most claim construction issues relating to the
‘717 Patent, as well as all issues relating to the other patent in suit, U.S. Patent No.
5,506,464. (Johnson Letter of December 14, 2005, enclosing amended claim
construction chart) The agreement is adopted as an order of this Court and will bind the

parties in this proceeding. [ turn to the disputed issues of interpretation.

the reflector body has lugs on a
side nearest the light emission window

The parties are not far apart on the meaning of “lugs”. Philips urges that it
means “small projecting parts of the reflector body used for positioning the light source.”
Iwasaki advocates that it means “projections, pads or ridges”. Based upon my review of
the specification and without reading a non-existent functional limitation into the claim
language, I conclude that lugs, in the context of the claim language, means “small
projecting parts of the reflector body”.’

The parties disagree as to the meaning of “on a side nearest” in the phrase

“the reflector body has lugs on a side nearest the light emission window”. Philips argues

that it means the lugs are positioned at the front or top end of the reflector body closest to
the light emission window. Iwasaki urges that it means a side at the front end of the
reflector body.

The claim language describes the relationship of the lamp to the reflector
body: “the electric lamp being fixed in the reflector body with the first end portion inside

the neck-shaped portion, while the cavity lies within the reflecting portion and the electric

” [note that “lugs” is defined in Webster’s Third New Int’l Dictionary, Unabridged (1961) as “a small

projecting part of a larger member”.

10
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 11 of 12

element is on the optical axis wherein the reflector body has lugs on a side nearest the
light emission window.” There is no dispute that the “light emission window” means a
part of the reflector body through which light is omitted outside. At first review, the use

of the indefinite article “a” —as in “a side’”—and the superlative “nearest” in the phrase

“lugs on a side nearest the light emission window” appears ambiguous. The use of both

terms assumes the possibility of multiple. Furthermore, the claim language does not
differentiate between reflector bodies that, at the end through which light is transmitted,
are circular in shape and those that are rectangular in shape. Thus, there can be multiple
sides to a given reflector body. In claim 6, the term “front side” is employed and, for the
reasons that will later be explained, I construe that term to mean the side that faces in the
same direction as the emitted light I will not construe “a side nearest the light emission
window” to be synonymous with “front side”. I construe the term “a side nearest the
light emission window” to mean any side that is at or near the end of the light emitting
end of the reflector body and includes the “front side” as defined below, as well as the
outer circumference of the reflector body at points closest to the light emitting end.

at said front side

The parties agree that terms used in Claim 1 of the ’717 Patent have the
same meaning in the other claims of the °717 Patent. They dispute the meaning of “front
side” and “at said front side” in Claim 6 that reads in full as follows:

A lighting unit comprising: a lamp; a reflector that
surrounds said lamp, said reflector having a front side that
defines an emission window for exit of light emitted from
said lamp, wherein said reflector has lugs at said front
side; and a transparent plate located at said front side
wherein said the lugs extend above the transparent plate.

11
Case 1:03-cv-00172-PKC Document 65 Filed 01/03/06 Page 12 of 12

Philips argues that “at said front side” means the lugs are positioned at the
front or top end of the reflector body closest to the light emission window. Iwasaki
asserts that “front side” means “a side at the front end of the reflector body opposite the
back end of the reflector body.” The use of the phrase “at said front side” is most
naturally read to mean that there is a single front side; the language would not be
understood by a person of ordinary skill in the art to mean “a side at the front end”. The
front side is the horizontal plane on the portion of the circumference of the reflector body
that faces in the direction that the emitted light is traveling. Put another way, it is the
surface of the edge of the rim of the reflector which faces in the same direction the light
is traveling.*

The foregoing constitutes my rulings on all outstanding issues of claim
construction.

SO ORDERED.

A oa YBa
oe ~F: Kevin Castel
United States District Judge

Dated: New York, New York
January 3, 2006

® The embodiments reflected in Figures 1, 2, 3 show the lugs (22) positioned on what I have construed to
be the front side.

12
